Case 17-50562-btb Doc 44

Entered 08/08/17 16:45:35 Page 1 of 6

 

 

 

1]| John White, Esq.
2 Bar Number 1741
WHITE LAW CHARTERED
3|| 335 West First St.
Reno, NV, 89503
4/| 775-322-8000
5 775-322-1228 (Fax)
john@whitelawchartered.com
6
Proposed counsel to Official Committee of Unsecured Creditors
7
8 UNITED STATES BANKRUPTCY COURT
9 DISTRICT OF NEVADA
10
11)) INRE:
12 Case No: BK-N-17-50562-btb
13 KONA GOLD, LLC Chapter 11
14 Debtor. COMMITTEE’S RESPONSE TO THE
15 MOTION TO EMPLOY THE LAW
6 OFFICES OF J. CRAIG DEMETRAS
17 Hearing Date: August 23, 2017
Hearing Time: 10:00 a.m.
18 Est. Time: 20 minutes
19 COMES NOW THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS (“Com-
20 mittee”), by and through its proposed counsel, White Law Chartered, who condition-
a1 ally objects to the Debtor’s Motion to hire the Law Offices of J. Craig Demetras (“Mo-
22 tion”), on the grounds that the Committee cannot determine if Mr. Demetras is disin-
23 terested unless and until Debtor responds to the Committee’s July 9, 2017 discovery
24 request.
25 In support of this Objection, the Committee relies upon 11 USC §1103(a) and FRBP
26 2014(a), the below Points and Authorities, the Declaration of Richard LaPrairie, filed
a7 separately herewith, and the files and records in this case.
28

 

 

 

 

 
Case 17-50562-btb Doc 44 Entered 08/08/17 16:45:35 Page 2 of 6

Dated this 8th day of August, 2017.

Submitted by:
WHITE LAW C

 

RED

 

oO wan DOD oH BR | WD He

no Se Se NY NY NY SY NY HY YH ee eS pL

 

 

 

 

 
Case 17-50562-btb Doc 44 Entered 08/08/17 16:45:35 Page 3 of 6

POINTS AND AUTHORITIES

FACTS

Case Overview This Debtor’s Schedules show $876,700 in assets and $2,758,773.70

 

o moa ND oH FF |! BO em

obo ewe Se SY NY NS NY NBR ee Ree le

 

 

in liabilities. See page 13 of Dkt 10. Its main assets are two parcels of real property in
Mound House, Nevada, being 115 (APN 016-171-03) and 139 (APN 016-171-04) State
Route 341. The Schedules place a total value of $500,000 on 115 and 139 State Route
341, making these two parcels Debtor’s main asset. See Schedule D (Dkt 1). Debtor's
largest creditor by far is Jin De Land’s $2,000,000 claim, listed as secured by 115 and
139 State Route 341. Schedule D (Dkt 1). Neither the Schedules nor the Statement of
Affairs give any information concerning Jin De Land.

Debtor’s liabilities include $6,783 from one Garret Weyand, being an advance to
the Debtor for Mr. Demetras’ cost and fee retainer (see Form 2030 at 28 of Dkt 10).
Mr. Weyand also has a $40,851 general unsecured claim (Page 10 of Dkt 1) and isa
5% owner of Debtor. See Motion, page 3. Liabilities also include $12,000 to Demetras
and O’Neill (Page 10 of Dkt 1) and $89,304 to Steve Davis (Dkt 1, page 14), Debtor's
manager. Debtor apparently intends to reorganize. See Motion, Paragraph 4 (Dkt 32,

page 2.

Mr. Demetras may not be disinterested.

As indicated, according to the Schedules Debtor owns 115 and 139 State Route 341 in
Mound House, Lyon County, Nevada.

115 Hwy 341. However, according to the Lyon County Assessor, only 139 hwy 341
(APN 016-171-03) is owned by the Debtor. According to the Lyon county assessor, 115
Hwy 341 (APN 016-171-04) is a single family residence which is now and since Febru-
ary 2014 has been owned by MH Equipment, 315 California Ave. #94, Reno NV 89509
rather than by Debtor. According to the Nevada Secretary of State, Steve Davis is

President and Craig Demetras is resident agent of MH Equipment, a revoked Nevada

 

 
Case 17-50562-btb Doc 44 Entered 08/08/17 16:45:35 Page 4of 6

Corporation. The Lyon County Recorder shows that foreclosure proceeding were insti-
tuted against MH Equipment on January 6, 2016 (Doc # 545347). Undersigned was
unable to ascertain the disposition of that foreclosure from the Recorder’s site. The

assessor's site carries a warning “This is not a complete History and should not be

 

oOo Om NN DO OH PB w~| PO

mM NH SH HY DY YS Oe ee ie ee Se

 

 

used in place of a title search.”

La Canada Gold and Silver Mining, LLC. The Nevada Secretary of States shows
another Nevada LLC, La Canada Gold and Silver Mining, LLC. It is shown as a cor-
poration in good standing. Debtor’s manager, Steve Davis is listed as resident agent
and Garrett Weyand, a creditor in this case, is listed as manager. Movant states that
La Canada is a 16% owner of Debtor. See Motion, page 3.

Kona Gold Mining Corporation. The Nevada Secretary of State shows another cor-
poration, Kona Gold Mining Corporation., a defaulted corporation. Mr. Demetras is
listed as resident agent and Steven Davis is listed as President. Debtor, Kona Gold

LLC listed itself as a subsidiary of Kona Gold Mining Corporation in its Web Site

(http://docslide.com.br/documents/20160721-summary-kona-gold-mining-v1-no-numbeft. htm]

See Exhibit 2 to Mr. LaPrairie’s Declaration, filed herewith. That web site was taken
down sometime after this case was filed. See LaPrairie Declaration, paragraph 4.
Because of these and similar questions, the Committee is unable to determine
whether Mr. Demetras is disinterested. On July 9, 2017, the Committee sent Mr.
Demetras a request for information which would assist the Committee in making this

determination. See Exhiibt 1 to Mr. LaPrairie’s Declaration. However, no response to

this request has yet been received.

Argument

11 USC §1106 requires a Chapter 11 Debtor to perform the Debtor’s duty under 11
USC § 704(a)(7), being to furnish requested information to a party in interest. The
Committee is a party in interest. 11 USC § 1109(b). The information requested by the

Committee is necessary to determine whether Mr. Demetras is disqualified as counsel

 

 

 
Case 17-50562-btb Doc 44 Entered 08/08/17 16:45:35 Page 5of6

for Debtor due to disinterestedness. 11 USC § 327(a) requires that counsel for the
Debtor be disinterested. 11 USC § 1103(c)(2) authorizes the Committee to investigate

”

“...any... matter relevant to the case...

Therefore Debtor is required to furnish the information requested. Further, as that

 

information is needed in order for the Committee to reasonably formulate a response
to the Motion, the hearing on the Motion should be set off until at least 7 days after

Debtor supplies the information requested in the Committee’s Request for Documents.

© OO ND oO BR w Dw EE

how Sh NH YH HH we wee Be es eo
oN Oa FF ON HF FSF DO MO KUT Gan annwuas

 

 

Dated this 8th day of August, 2017.

Submitted by:

WHITE a

oO

   

 

 

 
Case 17-50562-btb Doc 44 Entered 08/08/17 16:45:35 Page 6 of 6

 

  

 

1 CERTIFICATE OF SERVICE
2
On August 8, 2017 I served a true and correct copy of the COMMITTEE’S RE-
3/| SPONSE TO THE MOTION TO EMPLOY THE LAW OFFICES OF J. CRAIG DEME-
4 TRAS by United States mail, first class postage fully prepaid to the persons as
listed below:
5
6
7 U.S. Trustee-RN-11 Karen M. Ayabe Kern and Associates,
300 Booth Street, STE 3009 Ltd. 5421 Kietzke Lane, Suite 200
8 Reno, NV 89509-1362 Reno, NV 89511
9 J Craig Demetras Official Committee of Unsecured Cred-
10 230 E. Liberty St itors 1595 Ashbury Lane
Reno, NV 89501-2211 Reno, NV 89523
11
Kona Gold
12 316 California Avenue #94
13 Reno, NV 89501
14|| I declare under penalty of perjury that the foregoing is true and correct.
15 Signed on Au
16 LE ‘ya ELA §
Vonda Kischer/
17 /
18
19
20
21
22
23
24
25
26
27
28

 

 

 

 

 
